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                       IN THEUNITED STATESDISTM CTCOURT                             DEC -li2212
                      FORTHEWES TERNDISTRICTOFVIRGINIA
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(UNITED STATES OF AMERICA                           Crim inalAction No.4:13CR00018

                                                    M EM OM NDUM OPINION

CASEY GLZNN ALCORN ,                                By:Hon.Jackson L.Kiser
                                                       SeniorUnited StatesDistrictJudge
              D efendant.

                                                                      1.

       Casey Glenn Alcorn,a federalinmate,has tiled am otion to vacate,setaside,orcorrect

hissentenceptlrsuantto28U.S.C.j2255,arguingthathisenhancedsentenceasannrmedcareer
criminaltmderthe Armed CareerCriminalAct,18 U.S.C.j 924(e),(C$ACCA''),isunlawful.
Afterconsideration ofthe record mld applicable case law,lconclude Alcorn'sm otion m ustbe

dism issed.

                                               1.

       Alcorn pleaded guilty to being a felon in possession ofafirearm in violation of18 U.S.C.

j 922(g). His Presentence lnvestigation Report(&CPSR'') recommended that he receive an
increased sentence becausehe qualified as a:lnrmed careercrim inalin thathehad atleastthree

priorconvictionsforaviolentfelony and/ora seriousdnlg offense. (PSR ! 17 (ECF No.761.)
                                                                           '
                                           o

The predicate offenses supporting hisstatusasan nrm ed career criminalincluded priorVirginia

convictions for distribution of cocaine, accpm modation distribution of cocaine,and llnlawftzl

wotmding. (L4.!!24 and 26.) OnJuly 18,2014,Iadopted thePSR and concludedthatAlcorn
was a!l anned career criminal. Following a m otion for substantial assistance filed by the

governmentLECFNo.524,1sentencedAlcorntoatotalof100months'incarceration.
       Pursuantto Stahding Order2015-5,Iappointed the FederalPublic Defender'sOffice to

representAlcorn and provide briesng,ifnecessary,in lightofthe Suprem e Court's decision in



 Case 4:13-cr-00018-JLK Document 83 Filed 12/04/18 Page 1 of 4 Pageid#: 320
Johnson v.United States,135S.Ct.2551,2563 (2015). TheFederalPublicDefender'sOffice
filedaj2255M otion on Alcorn'sbehalf.On September19,2017,thecasewasstayedpending
a decision by the United States Courtof Appeals for the Fourth Circuit in United States v.

Jenkins,CaseNo.16-4121.Jerlkinshasnow been decided,719F.App'x241(4thCir.M arch9,
2018)(tmpublished),cert.denied 2018 WL 3009028 (Oct.1,2018);accordingly,the j 2255
M otion isripeforreview.

                                               II.

       To stateaviableclaim forreliefunderj2255,apetitionermttstprove:(1)thathisorher
sentence wastsimposed in violation oftheConstitution orlawsoftheUnited Statesi''(2)that
'çthecourtwaswithoutjtlrisdiction to impose such sentencei''or(3)thatGsthesentence wasin
excess of the maximtlm authorized by law,or is otherwise subjectto collateralattack.'' 28
U.S.C.j 22554$. Alcom bears the burden ofproving grounds for a collateralattack by a
preponderanceoftheevidence.M illerv.UnitedStates,261F.2d546,547(4th Cir.1958).
       A . The A CCA Enhanced Sentence Stnzcture

       A lcorn claim s that he no longer qualifies as an arm ed career crim inal because his

tmlawfulwounding conviction carmotbeused to supportan enhanced sentencelmdertheA CCA .

Thisargum entisforeclosed by Jçnkins.

        Federal1aw prohibitsconvicted felonsfrom possessing firenrms. 18 U.S.C.j 922(g).
Defendantswho violatethislaw aresubjectto atenn ofup to ten years'imprisonment. 1d.j
924(a)(2).W hen defendantsconvictedofaj922(g)chargehavethreeormorepriorconvictions
for(Eseriousdrug offenses''orEcviolentfelonies,''however,they qualify asnrmed careercriminals

under the A CCA . A rm ed career crim inals face an increased plm ishm ent:a statm ory m andatory

minimtlm offifteenyears'imprisonmentandamaximllm oflife.18U.S.C.j924(e)(1).



 Case 4:13-cr-00018-JLK Document 83 Filed 12/04/18 Page 2 of 4 Pageid#: 321
       ln Jolmson,theSuprem e Courtinvalidated partofthedeûnition of(Gviolentfelony''tmder

the ACCA. 135 S.Ct.2563. Specifically itconcluded that crimes ççotherwise involvging)
conductthatpresentgedja seriouspotentialrisk ofphysicalinjtzry to another,''known asthe
tGresidualclause,''w as unconstitutionally vague. ld.at 2555,2563. It did not,how ever,strike

dow n the other polions of the violent felony definition, including the tiforce clause,''w hich

coverscrim esthathaveS6asan elem enttheuse,attempteduse,orthreatened useofphysicalforce

againsttheperson ofanother.'' 18 U.S.C.j 924(e)(2)(B)(i). The Supreme Court'sdecision in
Johnson announced a new nzle of constitutional law that applies retroactively to cases on

collateralreview.W elchv.UnitedStates,136S.Ct.1257,1268(2016).
       B . Predicate O ffenses

       Alcorn hasthree predicate offensesthatIused to supporthisenhanced ACCA sentence.

He does notchallenge his two dnzg-related convictions. Accordingly,I need only decide the

continued viability of his tmlawful wounding conviction. Alcorn argues that his tmlawf'ul

woundiég conviction no longer qualifies as a violentfelony because itdoes notfalltm der the

Gçforce clause''of the A CCA ,the only definition potentially applicable after Johnson invalidated

theresidualclause.However,Jenldnsholdstheopposite.

       In Jenkins,the Fourth Circuit concluded that Virginia tmlawfulwotmding convictions

continueto qualifyasviolentfeloniesfollowingJohnson.719F.App'x 241,246(4th Cir.2018)
(tmpublished),cert.denied 2018 W L 3009028 (Oct.1,2018). The courtheld that,because a
conviction for urllawfulwotmding requires both Ctcausation of bodily injury''and Slintentto
m aim ,disfigtu'e,disable or ki11,''it satisfies the force clause of the A CCA . Johnson,2018 W L

1225728 *1. The analysis in Jenkins applies equally to V irginia m alicious w otm ding

convictions. Virginia m alicious w otm ding is a m ore serious crim e than tmlaw f'
                                                                                  ul w ounding;




 Case 4:13-cr-00018-JLK Document 83 Filed 12/04/18 Page 3 of 4 Pageid#: 322
therefore,the Fourth Circuit's holding thatunlawfulwotmding involvesthe force necessary to

satisfy theACCA necessadly also appliesto m aliciouswotmding convictions. SeeJenkins,719

F.App'sat244 (notingthatVirginia Codej 18.2-51 criminalizesboth maliciousand unlawful
w otm ding,and analyzing the Cçleast serious w ounding offense''in orderto determ ine whether the

mirlimum conductrequiredtosustainaconvictionunderthesiatutewouldsatisfytheACCA).
       Because Alcom continuesto have three predicate offenses even following Jolmson,he

carmot establish that he was improperly sçntenced as an nrmed career crim inalor that he is

entitledtorelief.28U.S.C.j2255($.
                                                111.

       For the reasons stated herein, the courtgrants the governm ent's m otion to dismiss.

BecauseAlcornhasfailedtomakeasubstantlalshowing ofthedenialofaconstimtionalrightas

requiredby28U.S.C.j225i3(c),acertificateofappealabilityisdenied.
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 Case 4:13-cr-00018-JLK Document 83 Filed 12/04/18 Page 4 of 4 Pageid#: 323
